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                    Exhibit no. 8
             Articles 666 and 667
       of the Lebanese Criminal Code
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Articles 666 and 667 of the Lebanese Criminal Code

Article 666:

- Whoever draws a check without a prior provision available for payment or without sufficient
provision.

- Whoever withdraws all or part of the funds after drawing the check.

- Whoever orders the drawee not to pay in circumstances other than those provided for under
Article 428 of the Code of Commerce.

Shall be punished by imprisonment of three months to three years, and a fine from one to four
million Lebanese pounds, and shall be sentenced to pay the amount of the check, with damages,
if the case so requires.

In case of a repeated offence, in addition to the penalties for repeated offences, the provisions of
Articles 66 and 68 shall also apply.

The waiver of personal rights in the aforementioned offences leads to the lapsing of public
action.

The characterization of infamous offence used in other laws in effect does not apply to such
offences, and whoever is sentenced by one of such offences shall not be subject to any of the
consequences described in such laws that apply to those sentenced for an infamous offence.

Article 667:

Whoever knowingly takes a check that is not covered by sufficient fund shall be punished by the
penalties for complicity in the aforementioned offence. Such penalties shall be doubled if the
bearer of the check obtained it in order to cover a usurious loan even if he was not an
accomplice.

Except for the case of obtaining a check to cover a usurious loan, waiver of personal rights leads
to the lapsing of the public action.
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